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                                       UNITED SIATES DISTRICT COURT
                                      WESTERN DISTRICI O]: WISCONSIN

 UNITED STATES OF AlvlERlCA,




 ZACIIARY       R. I,lONTE,                                   Violation Nos.; 9n42n, 9734278, 97Y279
                                  Defendant.

                              STIPULA'I'ION, ACREEMENT, AND ORDER



The     UniH   States and the def€ndant stipulate and agree that the defendant received citation(s)        for
Violation No- 973422 - Posspcsion ol                     srbstan..   f36 CFR 2 35fbl/2i)i

Violation No. 9734278 - Possession o f firoworks    (36 CFR    239&)):
Violation No- 9734279 - Camnini outside des          ied area {36 CFR 2-'10(b)(10})


Pursuant to Fed. R. Crim- P. 58(d), the defendant agrees not to contest the violation(s) in
Violation No. 9734278 - Possession of fireworks     {36 CFR    238&)} &
Vioiation No. 9734279 - Camoine outside desisna ted area           (36 CFR   210(bXl0))
and to pay S200.00 on or before Novembet 23,202l with          a   check or money order to thc Central Violations

Bureau, P.O. Box 780549, San Antonio,     fi   78278 or through the online payment system at

w!,t/w,cvb.uscourt5.gov, In exchange, upon payment of the fine noted ahove, the             Unid    States u'i}l dismiss

anv other cu,Iently-pending Western District of Wisconsin citations against &e defendant that are known
ro this U5.    Attome/s Office. The defendant understands that the Court will sign this Stipulation,
Agr€ement, and Order and that fai,ing to pay the agreed fine amount could subject the d€{endant to

Lonl?mpt clurges and arre6t.




         NP,A       fiRSON              WII,LIAM    R.   to
                                                                                   d//y:-
                                                                                   ZACHARY R, IUONTE
Assistanl U5. Attorley                  Attorncy for Defendant


I)ate
         u qf7,l                        ,!)#/ 2t                                   Date
                                                                                          t\- 3-Lo?-l'

         Upr:n ra;eip{ of thi5 agre{:ment, il is ORDERED that jud8ment of conviction be entered into irl

ar,<orrlance with tlre clurge(B) set Forth lbovo and the defendant pay the amount required under this

dql(*rnenl,
                                         s/Stephen L. Crocker                               11/9/2021
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